                     Case 21-12475           Doc 1        Filed 10/31/21 Entered 10/31/21 17:08:29                             Desc Main
                                                             Document    Page 1 of 9
Fill in this information to identify your case:

United States Bankruptcy Court for the:

 NORTHERN
,__       DISTRICT OF ILLINOIS_____
    �-------=------------'___:_
Case number (if known)         ___     ____    _ Chapter                                 11
                           _      __ _      ___ _
                                                                                                                          D Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor's name               Magnolia Storage and Logistics LLC ____

2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

 3.   Debtor's federal
      Employer Identification     81-167XXXX
      Number (EIN)


4.    Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  JWF Group Inc.
                                   32703 Tamina Road                                              100 Quarry Road
                                   Magnolia, TX 77354                                             Rochelle, IL 61068
                                   Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                   Montgomery                                                      Location of principal assets, if different from principal
                                   County                                                          place of business

                                                                                                   Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor               ■   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   D Partnership (excluding LLP)
                                   0 Other. Specify:




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Debtor
                                                                  Document    Page 2 ofCase
                                                                                        9 number (if known)
         Magnolia Storage and Logistics LLC
         Name


7.   Describe debtor's business        A. Check one:
                                       D Health Care Business (as defined in 11 U.S.C. § 101 (27A))

                                       ■    Single Asset Real Estate (as defined in 11 U.S.C. § 101 (518))
                                       D Railroad (as defined in 11 U.S.C. § 101(44))
                                       D Stockbroker (as defined in 11 U.S.C. § 101(53A)}
                                       D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       D Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                       D None of the above

                                       B. Check all that apply
                                       D Tax-exempt entity (as described in 26 U.S.C. §501)
                                       D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3}
                                       D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                       D Chapter 7
     debtor filing?
                                       D Chapter 9

     A debtor who is a "small          ■    Chapter 11. Check all that apply.
     business debtor" must check
                                                               D    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D), and its aggregate
     the first sub-box. A debtor as
     defined in § 1182(1) who                                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                        $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                                exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
     "small business debtor") must                             D    The debtor is a debtor as defined in 11 U.S.C. § 1182(1 ), its aggregate noncontingent liquidated
     check the second sub-box.                                      debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                    balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                    any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1 )(8).
                                                                D   A plan is being filed with this petition.
                                                                D   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                    accordance with 11 U.S.C. § 1126(b).
                                                                D   The debtor is required to file periodic reports (for example, 1 OK and 1OQ) with the Securities and
                                                                    Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                    Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                    (Official Form 201A} with this form.
                                                                D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       D Chapter 12



                                       □■
9.   Were prior bankruptcy                  No.
     cases filed by or against
     the debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                 District   ----------- When -------- Case number
                                                    District   ---------- When -------- Case number




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Debtor    Magnolia Storage and Logistics LLC
                                                                        Document    Page 3 ofCase
                                                                                              9 number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                           ■□   No
                                                Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                             Debtor                                                                  Relationship
                                                        District                                 When                           Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       ■        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       D        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                       ■ No
    real property or personal          □ Yes.          Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                               Why does the property need immediate attention? (Check all that apply.)
                                                       D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?
                                                       D It needs to be physically secured or protected from the weather.
                                                       D It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                        livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       D Other
                                                       Where is the property?
                                                                                        Number, Street, City, State & ZIP Code
                                                       Is the property insured?
                                                       □ No
                                                       D Yes.      Insurance agency
                                                                   Contact name
                                                                   Phone



           Statistical and administrative information

13. Debtor's estimation of                        Check one:
    available funds
                                                     D Funds will be available for distribution to unsecured creditors.

                                                     ■ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                ■ 1-49                                               0 1,000-5,000                              0 25,001-50,000
    creditors                                                                               0 5001-10,000                              0 50,001-100,000
                                       0 50-99
                                       0 100-199                                            0 10,001-25,000                            D More than100,000
                                       0 200-999

15. Estimated Assets                   0    $0 - $50,000                                    ■ $1,000,001 - $10 million                 D   $500,000,001 - $1 billion
                                       0    $50,001 - $100,000                              D $10,000.001 - $50 million                D   $1,000,000,001 - $1 O billion
                                       0    $100,001 - $500,000                             D $50,000,001 - $100 million               D   $10,000,000,001 - $50 billion
                                       D    $500,001 - $1 million                           D $100,000,001 - $500 million              D   More than $50 billion


16. Estimated liabilities              0 $0 - $50,000                                       ■   $1,000,001 - $10 million               □ $500,000,001 - $1 billion
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                                                                          9 number (it known)
Debtor   Magnolia Storage and Logistics LLC
         Name

                           □ $50,001 - $100,000                      □ $10,000,001 - $50 million     D $1,000,000,001 - $10 billion
                           □ $100,001 - $500,000                     D $50,000,001 - $100 million    D $10,000,000,001 - $50 billion
                           D $500,001 - $1 million                   □ $100,000,001 - $500 million   D More than $50 billion




 Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor    Magnolia St9rage and Logistics LLC                                                        Case number (,t known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on      October 31, 2_0_2 _1 __
                                                   MM/DD /YYYY


                                                                                                           Jason Fowler
                                                                                                           Printed name




18. Signature of attorney     X                                                                             Date October 31, 2021
                                  Signature of attorney for debtor                                               MM/DD/YYYY

                                  William J. Factor 6205675
                                  Printed name

                                  Factor Law
                                  Firm name

                                  105 W. Madison St., Suite 1500
                                  Chicago, IL 60602
                                  Number, Street. City, State & ZIP Code


                                  Contact phone      312-878-6976                  Email address


                                  6205675IL
                                  Bar number and State




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Fill in this information to identify the case:

Debtor name         Magnolia Storage and Logistics LLC

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               D Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        □        Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)
        □        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)
        □        Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206EIF)
        □        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        □        Schedule H: Codebtors (Official Form 206H)
        □        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        D        Amended Schedule
        ■        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        □         Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         October 31, 2021                                                               (


                                                                    Printed name

                                                                    Manager:__
                                                                    Position or relationship to debtor




Official Form 202                                            Declaration Under Penalty of Perjury for Non-Individual Debtors
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    Debtor name Magnolia Storage and Logistics LLC
    United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                           □    Check if this is an

    Case number (if known):                                                                                                                              amended filing
I



Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.
�                                                                               --                                                                                   ---
Name of creditor and          Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
    complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
    including zip code        creditor contact       debts. bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                   professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                                   and government                               Total claim, if           Deduction for value         Unsecured claim
                                                                   contracts)                                   partially secured         of collateral or setoff
    Tammy J .. McRae                                               Real Estate Taxes                                                                                          $15,000.00
    Montgomery County                                              - approximate
    Assessor                                                       amount
    400 NI San Jacinto
    Conroe, TX
    77301-2823                             ----                                                                                                     --                              --
    Trans Pecos Bank                                              \ 32703 Tamina - Contingent                             Unknown                   Unknown                     Unknown
    SSB                                                              Road          Unliquidated
    112 E Pecan Street                                               Magbnlia, TX  Disputed
                                                                   I
    Suite 800                                                        77354
    San Antonio, TX
    78205                                                       L                                 --




    Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                  page 1

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                                                              United States Bankruptcy Court
                                                                      Northern District of Illinois
 In re     Magnolia Storag� and �istics LLC:____                                                                     Case No.
                                                                                    Debtor(s)                        Chapter         11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                              Security Class Number of Securities                        Kind of Interest
business of holder
Jason Fowler                                                         LLC Interest    100%




DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is trne and correct to the best of my information and belief.



 Date October 31, ----
                  2021                                                        Si


                      Penaltyfor making a false statement of concealing property: F"""-'u.i..u"""' 500,000 or imprisonment for up to 5 years or both.
                                                                      18 U.S.C. §§ 152 and 3571.




Sheet I of I in List of Equity Security Holders
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                                                             United States Bankruptcy Court
                                                                    Northern District of Illinois
 In re      Magnolia Storage and Logistics LLC                                                        Case No.
                                                                                Debtor(s)             Chapter    11




                                                    VERIFICATION OF CREDITOR MATRIX

                                                                                      Number of Creditors:                               2




           The above-named Debtor( s) hereby verifies that the list of creditors is true and correct to the best of my
           (our) knowledge.




Date:       October 31, 2021




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